          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION

                          CRIMINAL NO. 1:08CR59


UNITED STATES OF AMERICA                   )
                                           )
                                           )
            VS.                            )           ORDER
                                           )
                                           )
JAMARUS MARQUIS SUTTON                     )
                                           )


      THIS MATTER is before the Court on motion of Defendant’s new

counsel for an order releasing copies of the Defendant’s presentence

report and any objections or addendums filed therewith and for additional

time to file objections thereto .

      On January 20, 2009, the Court granted Defendant’s pro se motion

removing Defendant’s previous attorney R. Edward Hensley, Jr., from the

case and appointing new counsel, Tony E. Rollman. Because the

presentence report was released to former counsel and the time for filing

objections has expired, Defendant’s new counsel moves for access to the

presentence report and for the opportunity to file objections thereto. For

the reasons stated in the motion, the relief sought will be granted.




    Case 1:08-cr-00059-MR-DLH       Document 78   Filed 01/21/09   Page 1 of 2
                                    2

     IT IS, THEREFORE, ORDERED that counsel’s motion for a copy of

the Defendant’s presentence report and related documents is ALLOWED.

The United States Probation Office is hereby authorized to make available

these documents to counsel forthwith.

     IT IS FURTHER ORDERED that the time for filing objections to the

presentence report is reopened and such objections are due to be filed on

or before February 9, 2009.

                                    Signed: January 21, 2009




    Case 1:08-cr-00059-MR-DLH   Document 78    Filed 01/21/09   Page 2 of 2
